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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  WACO DIVISION


 MV3 PARTNERS LLC,                                §
                                                  §    Civil Action No.: 6:18-cv-308-ADA
                                                  §
                 Plaintiff,                       §
                                                  §    JURY TRIAL DEMANDED
 v.                                               §
                                                  §
 ROKU, INC.,                                      §
                                                  §
                 Defendant.                       §




                          MV3’S STATEMENT OF CLAIMS

       Pursuant to W.D. Tex. Local Rule CV-16(e)(2), Plaintiff MV3 Partners LLC (“MV3”)

submits the following statement of its claims to be used by the Court in conducting voir dire.
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        This is a case brought by the Plaintiff, MV3 Partners LLC, against the Defendant, Roku,

Inc. for patent infringement. MV3 is the owner of U.S. Patent No. 8,863,223, which we will

refer to throughout the case as “the 223 Patent”, titled “Mobile Set Top Box.” Jared Abbruzzese

is the inventor of the ’223 Patent and an owner of MV3. The ’223 Patent claims inventions

related to screen mirroring and screen casting, which allow people to stream media content, such

as Netflix, YouTube, or Hulu Live, from their mobile devices to a TV screen or monitor.

        Roku makes, licenses, and sells a variety of streaming media products, including Roku

Ultra, Roku Express, Roku Express+, Roku Premiere, Roku Premiere+, Roku Streaming Stick,

Roku Streaming Stick+, Roku Smart Soundbar, and Roku TVs. These Roku products which

MV3 accuses of infringement have the ability to (1) screen mirror, which allows people to

“mirror” content on the screen of their mobile device, such as a person’s mobile phone, tablet, or

laptop, so it can be viewed on a TV screen or monitor, and (2) to screen cast, which allows

people to “cast” content from applications running on the person’s mobile device to a TV screen

or monitor. MV3 claims that Roku is infringing the claims of the ’223 Patent without MV3’s

permission and without paying MV3 any compensation for using its patented technology. MV3

seeks monetary damages from Roku in an amount that is adequate to compensate MV3 for the

use of its patent.
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Dated: September 28, 2020        RESPECTFULLY SUBMITTED,

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                               CERTIFICATE OF SERVICE

       A true and correct copy of the foregoing instrument was served or delivered electronically

via U.S. District Court [LIVE] — Document Filing System, to all counsel of record, on this 28th

day of September, 2020.




                                                    /s/ J. Mark Mann
                                                       J. Mark Mann
